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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-MJ-0127-EFB
12                                 Plaintiff,            STIPULATION FOR EXTENSION OF TIME FOR
                                                         PRELIMINARY HEARING PURSUANT TO RULE
13                           v.                          5.1(d)
14   JASON PROM, KENNY PRACH, ARIANA                     DATE: July 15, 2016
     DIAZ, GARY LOCH, ADAM NHEM,                         TIME: 2:00 p.m.
15   HILBERTO AREVALOS, SEAN                             COURT: Hon. Carolyn C. Delaney
     CHAICHANHDA, and RONNIE
16   DETHVONGSA,
17                                Defendants.
18

19          Plaintiff United States of America, by and through its attorney of record, Assistant United States

20 Attorney AMANDA BECK, and defendants JASON PROM and HILBERTO AREVALOS, both
21 individually and by and through their respective counsels of record, NOA OREN and SCOTT

22 TEDMON, hereby stipulate as follows:

23          1.       The Complaint in this case was filed on June 29, 2016.

24          2.       Defendants PROM and AREVALOS first appeared before a judicial officer of the Court

25 in which the charges were pending on July 1, 2016. Also on that date, PROM was ordered detained, and

26 AREVALOS was released on conditions.
27          3.       The other co-defendants in this case have yet to make an appearance before a judicial

28 officer of the Court in which the case’s charges are pending: KENNY PRACH was arrested in the
                                                        1
     STIPULATION
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                 Case 2:16-cr-00134-DAD Document 15 Filed 07/13/16 Page 2 of 4


 1 District of Nevada on June 30, 2016; ordered detained on July 1, 2016; and ordered transported to the

 2 Eastern District of California. The other defendants remain at large.

 3          4.       On July 1, 2015, the court set a preliminary hearing date of July 15, 2016.

 4          5.       By this stipulation, defendants PROM and AREVALOS consent to an extension of the

 5 preliminary hearing date to July 22, 2016, at 2:00 p.m., before the duty Magistrate Judge, pursuant to

 6 Rule 5.1(d) of the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required to

 7 allow for the government’s continuing investigation of the case. The parties further agree that good

 8 cause exists for the extension of time and that the interests of justice served by granting this continuance

 9 outweigh the interests of the public and the defendants in a prompt disposition of their criminal cases.
10 Fed. R. Crim. Pro. 5.1(d).

11          IT IS SO STIPULATED.

12
     Dated: July 12, 2016                                     BENJAMIN B. WAGNER
13                                                            United States Attorney
14
                                                              /s/ AMANDA BECK
15                                                            AMANDA BECK
                                                              Assistant United States Attorney
16

17
     Dated: July 12, 2016                                     /s/ NOA OREN
18                                                            NOA OREN
19                                                            Counsel for Defendant
                                                              JASON PROM
20
21 Dated: July 12, 2016                                       /s/ SCOTT TEDMON
                                                              SCOTT TEDMON
22                                                            Counsel for Defendant
                                                              HILBERTO AREVALOS
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     STIPULATION
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                 Case 2:16-cr-00134-DAD Document 15 Filed 07/13/16 Page 3 of 4


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                                 IN THE UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-MJ-0127-EFB
12                                   Plaintiff,         [PROPOSED] FINDINGS AND ORDER
                                                        EXTENDING TIME FOR PRELIMINARY
13                          v.                          HEARING PURSUANT TO RULE 5.1(d)
14   JASON PROM, KENNY PRACH, ARIANA                    DATE: July 15, 2016
     DIAZ, GARY LOCH, ADAM NHEM,                        TIME: 2:00 p.m.
15   HILBERTO AREVALOS, SEAN                            COURT: Hon. Carolyn C. Delaney
     CHAICHANHDA, and RONNIE
16   DETHVONGSA,
17                               Defendants.
18

19

20          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

21 Pursuant to Rule 5.1(d), filed by the parties in this matter on July 12, 2016. The Court hereby finds that

22 the Stipulation, which this Court incorporates by reference into this Order, demonstrates good cause for

23 an extension of time for the preliminary hearing date pursuant to Rule 5.1(d) of the Federal Rules of

24 Criminal Procedure. The Court further finds that the extension of time would not adversely affect the

25 defendants or the public interest in the prompt disposition of criminal cases.

26          //

27          //

28          //
                                                        1
     [PROPOSED] FINDINGS AND ORDER
30
              Case 2:16-cr-00134-DAD Document 15 Filed 07/13/16 Page 4 of 4


 1          THEREFORE, FOR GOOD CAUSE SHOWN:

 2          1. The date of the preliminary hearing is extended to July 22, 2016, at 2:00 p.m.

 3          2. Defendants shall appear at that date and time before the Magistrate Judge on duty.

 4

 5          IT IS SO ORDERED.

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 7
     Dated: July 13, 2016
 8                                                   _____________________________________
 9                                                   CAROLYN K. DELANEY
                                                     UNITED STATES MAGISTRATE JUDGE
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     [PROPOSED] FINDINGS AND ORDER
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